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                                    EXHIBIT 26
    Case: 1:21-cv-06546 Document #: 70-31 Filed: 11/08/22 Page 2 of 2 PageID #:1078




To:UniversityTees-Mattos                                  ‘mail.com]

From: Kaufmann, Martin E[/O=AT™                  =        /QU=EXCHANGEADMINISTRATIVE GROUP (FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=MEKAUFMA]

Sent: Fri 9/4/2015 7:26:26 PM Coordinated Universal Time

Subject: RE: Chief and Drinking [lini Merchandise



 Matt,


 Thanks for the email. There are a few designs that | do have to take a look at and probably have removed. Several of them, however, do not use our actual
 trademark. So, thanks for bringing to my attention because a few of them do useit.


 The Chief merchandise overall on the site is licensed. Approved products through selected national licensees is permitted to be sold online only. No local
 companies have a license to reproduce the Chief logo and we do not allow student groups or campus groups to use the logo.


 Marty




                       MARTY KAUFMANN
                       Assistant Athletics Director | Business Development & Licensing
                       University of Illinois Athletics
                       1700 South Fourth Street | Champaign, IL 61820
                       Office: 217-244-6532
                       Email: mekaufma@illinois.edu | Website: FIGHTINGILLINI.com


    Under the tHinois Freedom of information Act any written communication to or from university
    employees regarding university business is a public record and may be subject to public disclosure.




 From: University Tees - Matt Pahl [maith gmail.com
 Sent: Friday, September 04, 2015 12:36 PM
 To: Kaufmann, Martin E
 Subject: Chief and Drinking Illini Merchandise


 Hey Marty,


          | came across this website and Facebook ad selling Chief Illiniwek branded apparel and garments with “Drinking Illini” featured on them. | just wanted to make you
 aware of it, as | believe this violates collegiate licensing for Illinois.


 1. http://teshurt.com/chief
 2. http://teshurt.com/specialties
 3. Images attached




 Sincerely,
 Matthew Pahl
 I-L-L - Sales Manager


 Cell: 847.370.2624
 Instagram]
 Facebook:
 LinkedIn:
                   -

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 “university
      tees




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